   Case 12-31050    Doc 93       Filed 01/06/16 Entered 01/06/16 14:33:57      Desc Main
                                   Document     Page 1 of 6


                      UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                                        )
IN RE:                                  )
WILLIAM N. ADKINS                       )         Case No. 12-31050
                                        )         Chapter 7
                          Debtor.       )
                                        )

            ALPHABETICAL LIST OF CREDITORS WITH CLAIM NUMBERS

     1.   Branch Banking & Trust Company                        Claim No. 12

     2.   Carolina Trust Bank                                   Claim No. 3

     3.   Cessna Finance Corp.                                  Claim No. 8

     4.   Chicago Title Insurance Company                       Claim No. 6

     5.   CommunityOne Bank, N. A.                              Claim No. 16

     6.   Farm Credit of Northwest Florida, ACA                 Claim No. 4
      Case 12-31050           Doc 93         Filed 01/06/16 Entered 01/06/16 14:33:57                     Desc Main
                                               Document     Page 2 of 6


                                    UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                          CHARLOTTE DIVISION

                                                       )
IN RE:                                                 )
WILLIAM N. ADKINS                                      )        Case No. 12-31050
                                                       )        Chapter 7
                                   Debtor.             )
                                                       )


             TRUSTEE’S FIRST OMNIBUS OBJECTIONS TO CLAIMS PURSUANT TO RULE 3007

         COMES NOW the Trustee, by and through counsel, and objects to certain claims as outlined below. The claim
number, the claimant, the amount of each claim, and the reason for the objection is indicated. Also, a recommendation of
the Trustee is included. ANY CLAIMANT RECEIVING THIS OBJECTION SHOULD LOCATE ITS NAME AND THE
REASON FOR THE OBJECTION TO ITS CLAIM IN THIS DOCUMENT. The Trustee has examined all claims as filed
and objects to claims as follows:

CLAIM NO.                  CLAIMANT                             AMOUNT OF CLAIM                      CATEGORY

12                         Branch Banking &                     $11,732,486.06                       Secured
                           Trust Company

Reason for Objection: In addition to principal and interest, this claim asserts liability for attorney’s fees of $1,524,595.33,
which have not been approved by this Court. Additionally, this claim asserts liability for unidentified “fees” of $44,075.00,
which have not been approved by this Court. Further, this claim is secured by real property which was not sold by the
trustee or otherwise administered in this bankruptcy case, and the claim is based on guaranties by the Debtor of obligations
of Waterfront Group NC, LLC, Landstar Development, LLC, and Adkins Land Group, Inc. This creditor has not accounted
for its collateral, as to whether or not same has been foreclosed, and as a result this claim is impossible of determination.

Recommendation: Disallow this claim.


CLAIM NO.                  CLAIMANT                             AMOUNT OF CLAIM                      CATEGORY

3                          Carolina Trust Bank                  $99,161.67                           Unsecured

Reason for Objection: This claim filed as unsecured, is based on a guaranty of the Debtor of an obligation of Adkins
Aviation, LLC owed to Carolina Trust Bank. The note from Adkins Aviation, LLC is secured by an Assignment of Rents
and a Leasehold Deed of Trust. The collateral of Carolina Trust Bank as to this Claim No. 3 has been, or will soon be, sold
by the Trustee pursuant to order of this Court, with the claim to be paid in full at closing.

Recommendation: Disallow this claim.


CLAIM NO.                  CLAIMANT                             AMOUNT OF CLAIM                      CATEGORY

8                          Cessna Finance Corp.                 $359,697.43                          Unsecured

Reason for Objection: This claim against the Debtor is based on a guaranty of a debt of Adkins Aviation, LLC to Cessna
Finance Corp., which said debt is secured by one certain Cirrus Design Corporation SR22 aircraft, which said aircraft has
not been sold or administered by the Trustee in this case, which said aircraft is currently in the possession of Adkins
Aviation, LLC, and which said aircraft is the subject of a Refinance Agreement between Adkins Aviation, LLC and Cessna
Finance Corp.

Recommendation: Disallow this claim.
      Case 12-31050           Doc 93       Filed 01/06/16 Entered 01/06/16 14:33:57                     Desc Main
                                             Document     Page 3 of 6


CLAIM NO.                  CLAIMANT                            AMOUNT OF CLAIM                     CATEGORY

6                          Chicago Title                       $9,926.87                           Unsecured
                           Insurance Company

Reason for Objection: This claim does not establish personal liability of the Debtor and, on its face, is a false claim. This
claim states that its basis is “Affidavit and Indemnity Agreement by Debtor.” The only signature of the Debtor which
appears on any of the documents attached to the claim is that of the Debtor as president of a corporation.

Recommendation: Disallow this claim, and impose appropriate sanctions for the filing of a false claim in this case.


CLAIM NO.                  CLAIMANT                            AMOUNT OF CLAIM                     CATEGORY

16                         CommunityOne Bank, N. A.            $341,116.02                         Secured

Reason for Objection: This claim is secured by real property located in Ashe County, that was not administered or sold
by the Trustee in this case. The property is still collateral of this creditor, and upon information and belief has a value
approximately equal to the indebtedness.

Recommendation: Disallow this claim for purposes of distribution in this case.


CLAIM NO.                  CLAIMANT                            AMOUNT OF CLAIM                     CATEGORY

4                          Farm Credit of Northwest            $1,156,526.59
                           Florida, ACA

Reason for Objection: This claim, based on a Guaranty signed by the Debtor as to obligations of Waterfront Group
Florida, LLC to this creditor, is secured by certain real property (numerous tracts) located in the State of Florida. This
creditor has not made an accounting as to the collateral or disposition of same, and thus the true amount of the debt cannot
be determined. The collateral of this creditor was not sold by the Trustee or otherwise administered in this case.

Recommendation: Disallow this claim.

        WHEREFORE, the Trustee prays that the Court consider his objections to claims as outlined above, and enter
Orders pursuant to the recommendation of the Trustee in each instance.

         This 6th day of January, 2016.

                                                               /s/ R. Keith Johnson
                                                               R. KEITH JOHNSON
                                                               Trustee and Attorney for Trustee
                                                               NC State Bar No. 8840
                                                               1275 Hwy. 16 South
                                                               Stanley, NC 28164
                                                               (704)-827-4200
     Case 12-31050         Doc 93        Filed 01/06/16 Entered 01/06/16 14:33:57               Desc Main
                                           Document     Page 4 of 6


                              UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

                                                 )
IN RE:                                           )
WILLIAM N. ADKINS                                )        Case No. 12-31050
                                                 )        Chapter 7
                                  Debtor.        )
                                                 )

                          NOTICE OF TRUSTEE’S OBJECTIONS TO CLAIMS
                               AND OPPORTUNITY FOR HEARING


TO ALL PARTIES TO WHOSE CLAIMS ARE OBJECTED:

         NOTICE IS HEREBY GIVEN that the trustee, by and through counsel, has filed a Trustee’s First
Omnibus Objections to Claims Pursuant to Rule 3007, a copy of which is enclosed herewith and incorporated by
reference. Any response shall clearly identify the specific objection to which the response is directed, and it
shall comply fully with Local Bankruptcy Rule 9013-1. Any response must be in writing and must be filed with
the United States Bankruptcy Court, 401 West Trade Street, Charlotte, North Carolina, 28202, on or before
thirty (30) days from the date of this notice, with a copy served on R. KEITH JOHNSON, Trustee and attorney
for Trustee. In the event that a response or request for hearing is filed, the court will conduct a hearing of this
matter on Thursday, February 11, 2016, at 9:30 a.m. at the Charles R. Jonas Federal Building, Room 1-4, 401
W. Trade St., Charlotte, North Carolina, to consider the objections of the trustee, and any responses.

        This 6th day of January, 2016.

                                                          /s/ R. Keith Johnson
                                                          R. KEITH JOHNSON
                                                          Trustee and Attorney for Trustee
                                                          NC State Bar No. 8840
                                                          1275 Hwy. 16 South
                                                          Stanley, NC 28164
                                                          (704)-827-4200
     Case 12-31050           Doc 93   Filed 01/06/16 Entered 01/06/16 14:33:57              Desc Main
                                        Document     Page 5 of 6


                             UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
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                                               )
IN RE:                                         )
WILLIAM N. ADKINS                              )       Case No. 12-31050
                                               )       Chapter 7
                                 Debtor.       )
                                               )

                                      CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this date served the Trustee’s First Omnibus Objections to
Claims Pursuant to Rule 3007 and Notice of Opportunity for Hearing regarding same in the above entitled
action upon the parties below or the attorneys for said parties either electronically or by depositing a copy
hereof, postage paid, in the United States Mail:

William N. Adkins
16315 Belle Isle Dr.
Cornelius, NC 28031

Joseph W. Grier, III (ECF)
Attorney for Debtor

Branch Banking & Trust Company
Howard, Stallings, From & Hutson, P. A.
Attn: Nicholas C. Brown
P. O. Box 12347
Raleigh, NC 27605

Carolina Trust Bank
P. O. Box 308
Lincolnton, NC 28093

Cessna Finance Corp.
100 N. Broadway, Ste. 600
Wichita, KS 67202-2902

Chicago Title Insurance Company
2111 S. 67th St., Ste. 210
Omaha, NE 68106

CommunityOne Bank, N. A.
P. O. Box 1328
Asheboro, NC 27203

Farm Credit of Northwest Florida, ACA
c/o Norman J. Leonard, Esq.
Ward and Smith, P. A.
P. O. Box 2020
Asheville, NC 28802-2020
     Case 12-31050         Doc 93       Filed 01/06/16 Entered 01/06/16 14:33:57         Desc Main
                                          Document     Page 6 of 6


Linda Simpson (ECF)
Bankruptcy Administrator

       This 6th day of January, 2016.

                                                      /s/ R. Keith Johnson
                                                      R. KEITH JOHNSON
                                                      Trustee and Attorney for Trustee
                                                      NC State Bar No. 8840
                                                      1275 Hwy. 16 South
                                                      Stanley, NC 28164
                                                      (704)-827-4200
